 

 

Cas_e 7:18-cv-08761-KI\/|K Document 2 Filed 09/24/18 Page 1 of 170

UNITED STATES DISTRJCT CoURT ` i_
SOUTHBRN DIsTRJcT 0F NEW YORK ' ,_ ' _
yarn l -:""` ¢11'"-'-'-
CARLOS esaa-m maass-wage 'SG“2;_, P/L,
`x` [,.

(In the space above enter the full name(s) of the plainti[j’(s).)
. LbQL mut v a

-against-

 

 

 

7 4 ._ _ Civil Rights Act, 42 U.S.C. § 1983

“'\-\g_\l\-P\S G\Q'L¥FI\A , %\AQQ£I\X\EM ____ _,_ (Prisoner Cornplaint)
G?)ee\~\ ‘l\~t>~\l€v\ C,o'@?~. FP\Q . '. ETP\L.
Jury'Trial: L\?/Yes 'E| No

b€€ `\_\'P<O\'\ 7 7 _ w l (check one)

véieq,%\\ana\=’»l _ lSCVS?S].

 

 

 

 

 

 

(In the space above enter the ji¢ll name(s) of the defendant(s). l_'f you
cannot jit the names of all of the defendants in the space provided,
please write “see attached ” in the space above and attach an additional
sheet of paper with the ji¢ll list of names. The names listed in the above
caption must be identical to those contained in Pan‘ l. Addresses should

not be included here.)

I. Parties in this complaint

A. List your name, identification number, and the name and address of your current place of
confinement Do the same for any additional plaintiffs named. Attach additional sheets of paper as
necessary.

Plaintiff Name § :&R \_OS @PSRg°-Ci\
m # ' $2‘l-T- 1556
Current lnstitution wE N QE §‘_QBEEC § I.ONA\_ \_"~¢E& §I § ij
Address 9 Q. Bo)( j 137 W€nd€. RORD
…

B. List all defendants’ names, positions, places of employment, and the address where each defendant
may be served. Make sure that the defendant(s) listed below are identical to those contained in the

above caption. Attach additional sheets of paper as necessary.

 

 

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Defendant No.§t Name A\RMP‘"{ b _T' pg§"i"\ H`P' t , .Bhield #--_-_
Where Currently Employed ` Cot`mcirten O-i‘i;\`<'_¢( G\£zron \]cN/Qn Co(f. PN:_,
Address Qt\n<`t<. Q~LQ, '
§>iem\ui\\e, L\~l lQSiZ& 'oc>li>

Defendant No.l Name 'T\»\O\~*\P\% G\ELFFI\`\ l, Si/\QB'EI\~TTBND€¢~\T Shield #
Where Currently Employed (;`;\F\€@i~\ XXP\\}F,\`\ (‘JORQ_- Ff\C, .
Address 2001'|”& Q.lér
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nefendnni No. 3 Ninne AA"R©\\\ F;ci\\\\il.~-- shield # .
l Where Currently Employed (:Q\E.QE€@\\\ ;§-)FECQEZ §§ §§ DL §§M[E\`.l fagg Fp`¢;,
Address 'ROME 316 "-j, ' *
s+e(mi/:iie i~l-i. mesa »eetn

Defendant No. 4 Name Shield #
Where Currently Employed / d

Address i <BQQ/ `M‘\\_aC/|`{\j

‘S<.e on%eh** il lH\;l

Defendant No. 5 Name Shield #
Where Currently Employed \ |_ ;
Address §Q,Q/ QWC/\f\

"' owes s ii ' \;1
` \J

 

II. Statement of Claim:

State as briefly as possible the faLts of your case. Describe how each of the defendants named in the caption
of this complaint is involved in this action, along with the dates and locations of all relevant events. You may
wish to include further details such as the names of other persons involved in the events giving rise to your
claims. Do not cite any cases or statutes. If you intend to allege a number of related claims, number and set
forth each claim in a separate paragraph. Attach additional sheets of paper as necessary.

A. In what institution did the events giving rise to your clairn(s) occur? G Rp,'p;\l &\P\\/E;\\i
OD\ZRE;LT»:QMP\L. -FP\cn new

B. Wnere in the institution did the events giving rise to your einim(e> eeeur? E\}ei\ii's beg-mn
in A- 8 £> `\(o\(é. _ amici Crm¥ii\nnec\ ”i in 99 § c, corr`\ée\r cmr\ Mee,<_\§')nli
CO ( ("iéo~(

C. What date and approximate time did the events giving rise to your claim(s) occur? bd g Q'Q
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D. Facts: -
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l]]. Iqiuries:

If you sustained injuries related to the events alleged above, describe them and state what medical treatment,
s 1f any you required and received. -

 
   

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jo\ls<’m.

IV. Exhaustion of Administrative Remedies:
'I`he Prison Litigation Reform Act ("PLRA"), 42 U S. C. § 1997e(a), requires that “[n]o action shall be brought
with respect to prison conditions under section 1983 of this title or any other Federal law by a prisoner

confined 1n any jail, prison, or other correctional facility until such administrative remedies as are available are
exhausted ” Administrative remedies are also known as grievance procedures

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A. Did your claim(s) arise while you Were confined in a jail, prison, or other correctional facility?

Yes l NO _.___

If YES, name the jail prison, or other correctional facility where you were confined at the time of the events

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B. Does the jail, prison or other correctional facility where your claim(s) arose have a grievance
procedure?
€S___\_/ No_ Do Not Know___
C. Does the grievance procedure at the jail, prison or other correctional facility where your claim(s) arose

cover some or all of your clairn(s)?

14 No__ Do Not Know____

If YES which claim(-`S)? j\SSA\/\\'i ind €.iai:lc \Qein\lolt 1011 \i.o.rassmen'i
D. Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose?

esl No_

If NO, did you tile a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility?

Yes No

E. If you did file a grievance, about the events described in this complaint, where did you file the

ri v ce?
g e an 612-cec saved C@sse<seeoa\, see-atm
1. Which ciairn(s) in this complaint did you grieve? -P\§gp\u\\‘\ bd &'\1'0&'?

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2. Whatwas the result if any" 'I~f\macie 610 emma Reso\n'irov\ Cemmllee 1151,1€¢§
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3. JWhat steps, if ao_y, did you take to appeal that decision‘? Describe all efforts to appeal to
the highest level of the grievance prooess. 1 _\ g is € \ si
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c\ie\ wit (-csos¢\é> ci"¥ter 0\C) Ao\!$. :1: il\cfcal_r\ec appendices dweei\\'f

1‘ t`<>_. ‘ o '131€€ in accordance w1ir\/\ T1'l\€ "l

 

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F. If you did not file a grievance:

1. If there are any reasons why you did not file a grievance, state them here:

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§Al -, GW\A g$_§-§g,-MSTP.A ackvv\tm€lt(oc\t\/Q feme¢;\t"eg.

 

2. If you did not tile a grievance but informed any officials of your claim, state who you informed,

when and how and eir response, if any:
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G. Please set forth any additional information that is relevant to the exhaustion of lyour administrative
remedies. 1 (¢.c,<».\‘\lo.é cr response -*<\¢~=é\' was wake bo:e.A ¢_w\ -‘¢\M`.s ;L<:S<Bwv‘v aug
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Note: You may attach as éichibits to this complaint any documents related to the exhaustion of your
administrative remedies

V. Relief:

State what you want the Court to do for you (including the amount of monetary compensation, if any, that you

 

are seeking and the basis for such amount).

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Previous lawsuits:

Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?

Yes _ No _\__/

If your answer to A is 5[:ES, describe each lawsuit by answering questions 1 through 7 below. (If there
is more than one lawsuit, describe the additional lawsuits on another sheet of paper, using the same
format.)

 

 

 

 

 

 

 

 

1. Parties to the previous lawsuit:
Plaintiff
Defendants
2. Court (if federal court, name the district; if state court, name the county)
3. Docket or lndex number
4. Name of Judge assigned to your case
5. Approximate date of filing lawsuit
6. Is the case still pending? Yes No
If NO, give the approximate date of disposition
7. What was the result of the case? (For example: Was the case dismissed? Was there judgment

in your favor? Was the case appealed?)

 

 

 

Have you filed other lawsuits in state or federal court otherwise relating to your imprisonment?
Yes No

If your answer to C is YES, describe each lawsuit by answering questions l through 7 below. (If
there is more than one lawsuit, describe the additional lawsuits on another piece of paper, using the

same forrnat.)

 

 

 

 

 

 

1. Parties to the previous lawsuit:

Plaintiff

Defendants

2. Court (if federal court, name the district; if state court, name the county)
3. Docket or Index number

4. Name of Judge assigned to your case

5. Approximate date of filing lawsuit

6. Is the case still pending? Yes No

 

If NO, give the approximate date of disposition

 

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7. What was the result of the case? (For example: Was the case dismissed? Was there judgment
in your favor? Was the case appealed?)

 

 

I declare under penalty of perjury that the foregoing is true and correct.
signed this_|§__ day of Sep`l'embg i', 201_<(.

Signature of Plaintiff /5/74% DNM KYA/

lnmate Number U‘# SQ- 7'~/_-55:6 7
Institution Address \NCY\C\€, CO\'<eClt\o(\ot\ §od\`\\~l"
" 30'-\0 Wev\de soap
A'\éev\ . id Y. \Lloo‘i` Ils‘i j
CARLos Gii>szo,.-LAHQ -T~/e'§é

 

N__ote: All plaintiffs named' in the caption of the complaint must date and sign the complaint and provide their
inmate numbers and addresses.

I declare under penalty of perjury that on this i` day of S€£ j?,N\ k»'€,t' ' , ZOE, I am delivering this
complaint to prison authorities to be mailed to the Pro Se Office of the Uuited States District Court for the

Southern District of New York.
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Signature of Plaintiff:

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V. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
urmecessary delay, or needlessly increase the cost of litigation),' (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, Will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies With the requirements of Federal Rule of Civil
Procedure 1 1.

I agree to notify the Clerk's Office in Writing of any changes to my mailing address.l
understand that my failure to keep a current address on file with the Clerk' s Office may
result m the dismissal of my case.

Each P|aintiff must sign and date the complaint. Attach additional pages if necessary. |f seeking to
proceed Without prepayment of fees, each plaintiff must also submit an |FP applicationl

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Dated[ Plaintiff's Signature

C issues Gnacre
First Name |Vlidd|e |nitial Last Name

Wentle_. Co fill Fn@ . ", _BOLlO \N€v\d€, Qodd

Street Address

A\<lev\ ,\N lucas Fi\t<'l
county, city sta/te zip cede

l\l /a side

Te|ephoneNumber Emai| Address (if availab|e)

lhave read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:
l:l Yes |:l No

|f you do consent to receive documents electronically, Submit the Completed form With your
complaint |f you do not consent, please do not attach the form.

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Defendant H;

Defendant 5:

Defendant 6:

Defendant 1:

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Attached Defendant Information Sheet.MQ`l

UNIDENTIFIED CORRECTION OFFICER

 

Eirst Name Last Name
CORRECTION OFFICER

 

CURRENT JOB TITLE (or'other indentifying info.)
GREEN HAVEN CORR. FAC.; ROUTE 216,

Current Work Address

 

 

STRORMVILLE, N.Y. 12582-0010
County,City State Zip Code
ERIC GUTWEIN

NEirst Name Last Name

dCOMMEB$IONERFSlHEARlNG OFFICER

Current job title (or other identifying info.)

 

GREEN HAVEN CORR, FAC. ; ROUTE 216
Current Work Address

 

 

STORMVILLEL, N.Y. 12582-0010
County, City State Zip Code
UNKNOWN 7 GIORDANO

First Name Last Name

EMPLoYEE AssisTANT

 

Current job Title (or other identifying info.)
GREEN HAVEN CORR. FAC. ; ROUTE 216

 

Current Work Address

 

 

sToRMerLE, N.Y. 12582-0010
County,City\ State Zip Code
KAREN BELLAMY

First Name Last Name

DIRECTOR, INMATE GRIEVANCE PROGRAM
Current job Title (or other identifying info.)

GREEN HAVEN CORR. FAC. ; ROUTE 216-

 

Gurrent Work Address

 

 

STORMVILLE, N.Y. 12582-0010
County,City State _ Ziprode
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Garcia, Carlos 89"1`1556 B-4-l'72
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A&B Yard July in, 2015 7:47Pl\/l APPF°""“'“'“'F
3 sure vioLArioN(s) ¢ ,
ico_il i#tTTEMPrED ASSAULT oN STAFF 104.13 Disrurbmg the order
106.10 REFUSrNG DIRECT oRDER ‘ 102 10 rhyears
109.12 Mo\/EMENT REGULATroN vloLATIoN 121.12 Faeiiii-y Ph@ne chiriari'mrs

 

4_ DESCR|PT|ON OF INClDENT §

On the above date at approximate time of 7:47PM vvhile making rounds in A&B Y ard l observed inmate
Garcia telling unidentified inmates when they can get on the phones. I approached inmate Garcia to question him
about whatl obseived and he immediatly became uncooperative and attempted to Wall< away from me. C.O_
Pastilha ordered him to stop and he complied Inmate Garcia then became ven7 loud and argumentitive_ He began to
attract the attention of the approximate 137 inmates in the yard. l then gave inmate Garcia a direct-corder to take it
into B&C Corridor. lnmate Garcia stated he Wasn't going inside turned and began Walking away frdm me. l then
gave the inmate another direct order to take it into the corridor at Which point inmate Garcia turned towards C.O.
Pastilha quickly and aggresively With closed tists. lt appeared he Was going to assualt C.O. Pastilha so i then took
inmate Garcia To the ground forcefully and gave him multiple direct orders to stop resisting The inmate continued
to struggle C.O. Pastilla then placed inmate Garcia in mechanical restraints C_O. Pastilha and l aided inmate
Garcia to his feet and escorted him to the corridor where he kept threatening that eventually his cuffs will come ot`l"
land he will get us. Upon reaching the corridor responding staff met us and relieved us.

 

 

REPOF\`T DATE * FECl'lA REPORTED BY § NOMERE DE LA FERSONA GUE HACE EL lNFOF!iviE SlGNATWrFV TJTLE 1 T|T|_j|_O

 

 

 

 

 

 

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FECHA l-lORiC\ DADO Al_ RECLUEO NOMERE Y TlTULO DEL OUE ENTREGA

 

 

Yoi.i are hereby advised that rio statement made by you in response to the charges or information derived therefrom may be used against you in a criminal
proceeding b Por este medio se le informs que no se puede usar nlngnna declarscion hecha por ustes come resptiesta al crgoo informacion derivada de
ella en una demands criminal.

NUT|CE 0 AVlSO
REViEWlNG OFFICER (DETACH BELOW FOR V|OLATION HEAR|NG ONLY}

You are hereby notified that the above report is a formal charge and will be considered and determined at a hearing to be held ¢ Por este medio se le notifies
due el informs anterior es un cargo formal el coal se considerara y determinsra en dna s_tldiencls a celebrarser

The inmate shall be permitted to call witnesses provided that so doing does notjeopardizedinstitutional safety or correctional goals 0 Se le permitirs al recluso
llarnartestigos con tsi de due al hacerlo no pondra en peligro la seguridad de la lnstitocion o los objectives del Departamento.

if restricted pending s hearing for this misbehavior report you may Write to the Depuly Soperinlendent tor Sectirily or hislher designee prior to the hearing to make
a statement on the need for continued prehearing confinement o Si esta restringido pendiente a una sudiencia par este informs de mal compartamlentd pnede
escribirle sl Dipu'tado del Stipen`nte_ndente para Segurldaa‘ o su respresentanie antes de la audiencia para due haga tina declaracion scores de la necesidad de
continuar bajo confinamiento , previo a la audiencla.

Distri'oution; WHlTE - Disciplinsry Oi'fice CANAR":' - inmate (Alter revieW) + Distrit‘iucion: Bl_Al\lCi!. - Oiicinia Discip|laris AMARlLlA - Recluso (despues de la reslon)

 

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Signature

 

Date: _
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To: Bs.c coRRlDoH oFFIcER

From:- T. comey, RPL l

nez soFTBALL LEAGuE cnossovER (wEsT leE)
Da:e; J¢ne 29, 2015 -

P|ease allow the players listed below to cross over from the A&B yard tothe C&D yard at 6-: 00 PM on
the West Side m ihe evening they are scmduled to play. SEEAT|'ACI-ED SCl-EDULE FOR GME

DA`I:`ES.

(1. of 2)
94A5248 Lewin 06A3798 Stewan

M\
09A3207 Davis 02A6633 szardi 87A3635 Manuel
92A5791 M¢:Lean- 02A36?7 Scrimo 10A0440' Tavarez
12B0482 Tromb|ey ‘ ~
M
OBABSQB Agustin. %M694 Bumos 11A4498 Co|on
02A3212 Cornpress 0931262 Dozier 99A1237 Duran
96A3878 Espina| 08A371-9 Femandez 98A0511 Hiraido‘
90A4203 Larrea 95A5893 M-a|donado 06A3379 Morales
02A6417 Pena 94A0690 Peraha-_ OZMSOO Penez
08A6683 Rodriguez O4A3061 Sanchez 93A4555 Santiago
08A5610 Santos 0-TA5785 Vega
IQ!LQ;M
07A3091 Abdur-Rahman 11A1;495 Cheeks\ 94A?533. Cunningham
0450651 Dennard 12A0687 F:gueroa 07A1948 Jogie
92A6467 Kim 98A6349 Ma|ak 88A0426 M'aldonado
04A1337 Martin 02A5722 Morrison 07A2252 Mos|ey
05A2829 Quinones 04A1149 Hivera- 03A3130 Russell
98A5923 Rodriguez 04A6382 Santos 10A2136 Schiavo
M
06A3862 Ahmed 97A3640 Alexander . 11A2433' Barcero-¢
04A1446 Cana|es ` 05A3206 -Col|ier 08A4337 Ho|mes
05A4863 Jenkins 09A0328 Johnson ' -9.7A0576 Jones
8750807 Leon 06A5155 Lopez 06A2569 Marquez
97A4236 Krivak 06A039? Nash O4A4103 Rob\es
08A4859 Smai| 98A3454 Thomas 97A2926 Wl|son
Approved: Q,.;. 611 raw R» 565 '~»¢// _AL-lthorized:r …

 

R. Berste||, Teacher 4lHec. Supv.

 

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To:
F_rom:
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Date:

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B&C CORRIDOR OFFlCER
T. Con|ey, RPLI

SOFTBALL LEAGUE CROSSOVER (WEST S|DE)

June. 29, 2015

Please allow the players listed below to cross over from tl'¢e.A&B.-yard to lhe-.C&D-yard at 6:00 PM on-
the West-Side in the evening they are scheduled to play. SEEATTAGl-EDHJl-EJU_E FOR GME

D.AleES@7

MKL@

08A0994 Abraham' 98A6584
07A5542 Davis 11A2171
05A2667 Farnilia 07A1223
97A7482 Harris 12A,3079
12A2432 McCollum 1D1BTQ
.08A6152 Smith 98A6581
01 A3624 Surlel 02A6674

v Approved: 622 O-L\ fo/ lL, B)<.'/_c,LA/Y
R. Berste||, Teacher 4fFlec. Supv.

(20|‘2)

Brown
Enamorado
Flower
Johnson
Morrow
Sneddon
Urena

07A3320 Bynum
U7A2350 Epps
09A0394 Gangar
10A1469 Ju|io
11.A3352 Praileau
08A5409 Stevenscn
97A3814 Wells

Authorized: §§ M
VC 'n

 

 

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To: B&C CORR.IDOR OFFICER

From: T. Conley, RPl'-_l

Re: SOFl'BALL,LEAG UE CROSSOVEF! (WEST SIDE)

Date: July 29, 2015

Pleeee allow lhe- players listed below le arose ever from the AeB yard-lo the can yeld=el-c:oo PM,- en

tl'le__West Side in the evening they are scheduled to play. SE A'lTACl-EJSCl-EDU_E FOR GAME

DATES;

94A5248 Llewin

_14A0044 Babcock
Q2A5.791 McLean_

IQQBLMM
98A4694 Burgos
09B1262 Dozier
10A6000 Espinal
98A0511 l-liraldo
06A3379 Morales'
02A4300 Perez
08A561O Santos

M

05A3286 _Collier
08A4337 Holmes
97A0576 Jones
88A0426 ' Maldonado
04A4103 Robles

Team S -

' 98A6584 Brown
11A2171 Enamorado
97A7482 Harris
1281'8?9' Mormw
11A3352 Prai|eau
08A6152 Smith
02A6674 Urena

Approved:

n. eeretell, "r`eeeher 4/Ree. supv.

06A3798

09A3207
02A36Tf

02A3212
99A1 237
08A3719
92A646.7
02A64‘l'7
OBAESBB
07A5;785

1.1A2433
12A0687
05A4863
02A1829
06AO397
98A3454

1 1A1495
07A2350
12A3079
15A1544
03A3130
98A6581

' 96A38‘l4

Stewart
M

-Davis

Scrimo

Compress‘
Duran
Femandez
Kim -
Pena-
Rodriguez
Veea

Barcero
Flguercla
Jenkins
King
Nash
Thomas

Cheeks
Epps
Johnson
Nieves
Russe||
Sneddon
Wells

87A3635 Manue|
1-250482 `l'rornbley

048£65.1 Dennard
96A3878 Espinal
12A1956 Gostos-
90A4203 Larrea
94A0690-\ Perellta7
93A4555 Santiago

04A1446 Cana|es:
0850755 Hart|e
09A0328 Johnson
06A5155 Lopez
04A1199 Rivera
97A2926 Wilson

07A5542 Davis
89T1556 Gartlia
98A5349 Malak
08A5265 Polanco
10A2136 Schiav`u
01 A3624 Suriel

Authorizect

 

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Gi/A-r€;c;i'i‘l- oiN d'$'?'/$S 63 i_oc.
FFlOl\/i: lGFlC OFF|CE: incident da ' S:tion Beguest: Signature:_

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TO:

This notice is to inform you that your grievance has been received by this office on

“__ .r'
`_E;L. lt has been given the log number GH 30 Li{'f@ id .

Your log number, D|l\l, and ce
grievance

Upon completion of an investigation into your grievancel you vvill b_e scheduled for an lGif-`lC he

According to Directive fill 040 if

you do not appeal for the hearing Without a legitimate reason1
hold a hearing in absentia l

lt your grievance is numbered as part of a consolidated issue, you may or may not be calledt

l~lovvever, you viiill receive a copy of the grievance committees decis
accordance vvith Directive till-040

ion, and you may appeal
Directive till-040 701.3(aMnmate’s Fiesoon.ei`bi'lity. An inmate is encouraged to resolve

through the guidance and counseling unit the program area d

channels (informa| orformal) priorto submitting a grievance A|though a facility may n

conditions for submission of a grievance, the failure of an inmate to attempt to resolve

his ovvn may result in the dismissal and closing of a grievance at an |GFlC hearing
*i\lotice of Heturn: Mease resubmit Wiitli correction requested

Please be advised that your grievance received on
one or more of the following reasons
Hepresentative to make

, is being returned to you
`i/ou vvi|l be placed on a calloth to meet vvith an |
any necessary corrections

l\lo action reguest, please indicate one. l\lo incident date noted.

 

l\lo signature H_l\lon~grievalole per Directive #4040

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|_Gl'~‘ Supervisor Stanaviiay

 

 

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Signature:

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Y///- J‘/,'a_ g.)zr.ér/F}‘N C'#E"_
This notice is to inform you that your grievance has been received by this office on
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_§_/li 21 . lt has been given the log number Grl-l go 7§{6 f/‘-"__`
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Youi log numberI Dll\l and cell location must be included on any inquiry made concer

Ql iSVE`ri'lC€

Upon completion of an investigation into your grievance you irvi\l b_e scheduled for an lGrFlC he

Accoid`ing to Directive #4040 if you do not appeal for the hearing vvlthout a legitimate reason
hold a healing in absentia _

lt your grievance is numbered as part of a consolidated is sue, you may or may not be calledf
lr|ovvevei you vvi|l receive a copy of the grievance committee s decision and you may appeal

accordance vv`ith Direc|ive #11040.

Directive till-040 701.3(a) lnmate's Hesponsibr'lify. An inmate is encouraged to resolve
through the guidance and counseling unit the program area directly affectedl or other
channels (informal or forma|) prior to submitting a grievance Although a facility may rr
conditions for submission of a grievancei- the failure of an inmate to attempt to resolve

his ovvn may result in the dismissal and closing of a grievance atari lGrFtC hearing.
*l\lotice of He'turn: Pte.ase resubmit thrh correction regtiesteol.

Please be advised that your grievance received orr

Ft'epresentat'rve to make any necessary corrections

l\lo action requestl please indicate one. l\lo incident date noted.

l\lo signature _Non-grievable per Directive fnl-04-
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Other (as indicated beloirv):

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lGrP Supen/isor Stanavvay

 

 

 

Case 7:18-cv-08761-Kl\/|K Document 2 Filed 09/24/18 Page 59 0f170M-ee%er pepper

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§§¥§K Corrections and
STATE Community Supervision

ANDREW M. CuOMO ANTHONY .1. ANNUCCI

Governor Acting Cornmissioner
N|EIV|ORANDUN|

TO: C. Garcia, 89'_|'1556 SHU-39

FRON|: Lieutenant R. Deacon

SUBJECT: Staff Conduct

oArE: August 26, 2015

| am responding to your |etter, dated August 5, 2015, on behalf of Superintendent Griftin.

l have investigated your Written complaint regarding your claims of staff harassment During my
interview With you, you had nothing further to add, nor were you able to provide me With any
Witnesses that could help support your allegations of harassment on the part of statf.

l have spoken With and received Written statements from all staff named in your complaint, Sergeant
Howard, along With Officers Cruz, Edge and Faia have gone on record denying your allegations ot
unprofessional conduct.

Pending pertinent evidence to support your allegations against staff, l am unable to substantiate your
claims; therefore, l consider this matter addressed and closed at this time.

¢fA-/L

\ Lieutenant Ft. Deacon

RD/mad

cc: Supt. Grifiin
DSS Wilkins
Fi|e #13

 

 

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§§§"K Corrections and
STATE Community Supervision

ANDREW M. CUOMO ANTHONY J. ANN%JCC|

Governor Acting Commissioner
MEMORANDUN|

TO: C. Garcia, 89T1556 SHU-39

FRON|: Lieutenant F. Norton

SUBJECT: Staff Complaint `

DATE: 7 August 27, 2015

l arn responding to your letter concerning the above mentioned subject, on behalf of Superintendent
Griffin.

You were interviewed by me on August 13, 2015 in SHU concerning your written complaint. At that
time you affirmed your allegations that the officer who you claim was harassing you was Officer
Fu|ton. l have spoken with and received a written statement from the officer and he has gone on
record denying all allegations in your written complaint. ln regards to your allegations of staff pouring
water into your ce||, | inspected your cell and the catwalk visually looking for gaps or holes from the
catwalk and determined there were no such areas that would allow anyone to “pour’ water into your
oell. However, a work order was submitted for an observed leak from the water mechanism. As a
precautionary measure due to such, you were moved to cell #39.

Based on the above stated information, l can find no evidence to substantiate your allegations against

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sta.. lt any issue should arise in the future, l suggest you contact the Area Supervisor so the issue

can be addressed at that time.

f f V

Lieutena F. Norton

FN/mad

cc: Supt. Griffin
DSS Wilkins
fi-`e #13

 

Green l-laver‘- Correctiona| Facility 594 Route 215 Stcrmvi|le NY 12382 0010 CBA;'S l 221 2711 www. doccs ny gov

 

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DESCRIBE EVENTS LEADING UP TO THE APPLICATIDN OF FDRCE:

DFFICERS FINN, AND FASTILHA REFDRTED TO SERGEANT SCICCHITANO, THAT NHILE
THE¥ WERE PERFORHING THEIR DUTIES IN A&B YARD, THEY OBSERVED INHATE EARCIA,
S9T1556 CDNTROLLING THE PHDNES; HE WAS TELLING THE DTHER INHATES WHEN THEY
CAN GET DN‘THE PHONE. THE OFFICERS APFRDACHED INHATE EARCIA AND ATTEHPI§QJ
TD QUESTION HIH ABOUT WHAT THEY HAD OBSERVED. THE INHATE WAS UNCOOPERATIVE
AND STARTED TU WALK AWAY FROH THEH. OFFICER PASTILHA DRDERED THE INHATE TO
STOP. THE INHATE BECAHE LOUD AND DISRUPTIVE AND STARTED TO ATTRACT THE
ATTENTION OF'THE QTHER INHATES'IN THE YARD. HE WAS THEN URDERED TU THKE IT
INTU B&C C@RRIDOR IN AN ATTEMPT TD DE-ESCALATE THE SITUATION. THE INMATE
STATED THAT HE WASN'T GOING TU GD INSIDE PEACEFULLY AND TURNED TOWARD

05 ICER RASTILHA SQUARING_DFE IN £N AGRESSIVE MANNER WITH CLDSED E;STS.

GESERIBE ACTUAL FORCE USED:

DFFICER FINN, BELIEVING THAT THE INHATE WAS ABOUT TD ASSAULT OFFICER
PASTILHA, WRAPPED HIS RIGHT ARM ARDUND THE IHHATE‘S UPFER TDRSD AND
aTEPPED BEHIND HIH WITH HIS RIEHT LEG AND FORCEFULLY TUOK HIM TO THE
GRUUND, LANDING DN TDP OF THE INHATE. AS THE INHATE CONTINUED TU
VIOLENTLY STRUEGLE, DFICER FINN HELD THE INHATE DN THE GRDUND AS DFFICER'
PASTILHA AFPLIED MECHANICAL RESTRAINTS. OFFICER FASTILHA USING HIS RIGHT
HAND, TODK HDLD OF'THE IHMATE'S RIGHT WRIST AND_FORCED HIS HAND-TD THE
SMALL DF HIS BACK AND PLACED IT IN MECHANICAL RESTRAINTS. THEN WITH HIS
LEFT HAND TUOK HDLD OF THE IHMATE'S LEFT WRIST AND FURCED THAT HAND TO

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incident ‘ .
|_Ocagon NB Y&id incident`l'lme: 714-7 Pi`\!'i lt i.lnusual incidentl CCC Log # E::E:i:
PAFlT A - REPORT OF il\lCtDENT
` * 01 Eystander
l.NiViATE lN\!OLVED Name Dli\i Ceii/Cube i.ocation Flole Code ‘ _ 02 Partioipant
' 03 Perpetrator
l . 04 Suspect
Garcia,Car|os °59‘|'1555 54-172 03 05 victim
' 06 Witness
STAFF lNVOi._VED Name T`it|e
i . .Finn Oorrection Oftlcer
2. Pastiiha Correoti_on Of‘ficer
3.
4.

 

 

 

 

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sruptive an

Officers Flnn and Pastilha reported to me that while performing their duties in NB yar
_t'r_te_, phonest__i;_ie' wastei_iing other inmates .w,h,en..th”e__y ._cart_._,g;et`on
question him about what they had observed inmate was uncooperative and started to wa
ordered him to stop. inmate became-loud and di
was then ordered to take it into the B and C'corri

7 go inside peacefully and turned toward Ofticer Pasti

,ta_,e_ phenacl_hev assess

d started`to attract the attention of
dor in an attempt to deesca|ate the situation

d they observed inmate Garcia controlling
hadinmateserlena_sttsmt>tetta.
i“k away trom them. Oiticer Pastliha

the other'inmates.in the yard. i*ie
inmate stated that he wasn’t going to

iha squaring oft in an aggressive manner with closed fists.

 

 

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_ 04

01 Elaton
02 Body i-ioit:i

03 Chemicai Agents

04 mechanical nestramts ss shield

,05 Use of Firearms

07 Strike
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stepped behind him with his right leg and

mechanical restraints

D. Scicchitano
t Name ‘

 

isaiah _ sat

DESCFilB_E Ti-iE ACTUAL FOI-'iCE USED (if chemical agents are used, indicate who authorized user if

Ofticer Flnn believing that the inmate was about to assault Officer Pastiiha wrapped his right arm ar
forcetui|y took him to the ground landing
violently_strugg|e Officer Finn held the inmate on _the ground as Otticer
using his right hand took hold of inmates right wrist and torced his han

restraints Then with his lett hand took hold of inmates left wrist and forced

,;;7 ` Signature

5 .

Dist`; On"ginai - Soperinteacient l Copy- Guidance unit fiie(s) of inmate(s) involved

 

Pastiiha app
d to the small of his back and
that hand to the small of his back and placed it in

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on top of the inm

inmate is injured, attach photographs.)

ound inmates upper torso and
ate. As the inmate continued to
lied mechanical restraints. Ofticer Pastiiha_
placed it in mechanical

 

7 07/30/15

Date

 

 

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M'ENtG-RANDUNE

'E'G: o l_t l\lorton

FHGNE: D. Scicchitano, Sergeant
SUBJECT: Lise o=f force *
o-a'rE: o_r-so-t sr

Sir, be advised,_on O7-30-i5 at approximately 7:50 pm, l responded to A/B yard. \f\ihen l

" '_‘_1 rarrived_-l_obse_rved O_f_f-icers;l:innan_d-_Pas_til_ha With_-'_inm_at_e..__@rarcia,:QDiN 89'[15_5_»6 35471_22,. lit-hp

vFas in mechanical‘restr_aints being escorted out of yard into llE’£/C`cc')r“rid“or. 'O`nceiin'sid'e corridor l
directed responding officers to take control of inmate. Officer Finn informed mehe had used force
on the inmate Garcia viihen he believed the inmate vvas about to assault Officer Pa`stilha. Officer
Pastilha also informed me he aided'Officer l:inn'in controlling inmate by forcefully applying
mechanical restraints on inmate While he vvas on the ground. ~-

Officers Finn land Pastilha reported to me that While performing their duties in A/Byard they
observed inmate Garcia controlling the phones. l-le vvas telling other inmates vvhen they can get on
the phone. They approached inmate Garcia and attempted to question him about What they had
observed inmate vvas uncooperative and started to Wall< away from them. Officer Pastilha ordered
him to stop_. inmate became loud and disruptive and started to attract the attention of the other
inmates in the yard. i-le Was then ordered to take it into the B and C corridor in an attempt to
deescalate the situation.l inmate stated that he vvasn’t going to go inside peacefully and turned
toward Officer Pastilha squaring off in an aggressive manner With closed fists. Officer Finn
believing that the inmate vvas about to assault Officer Pastilha Wrapped his right arm around
inmates upper torso and stepped behind him With his right leg and forcefully took him to the ground
landing on top of the inmate. As the inmate continued to violently struggle Offioer Finn held the

._ inmate on the ground as Officer Pastilha applied mechanical restraints Officer Pastilha using his
right hand took hold of inmates right Wrist and forced his hand to the small of his back and placed it
in mechanical restraints Then With his left hand took hold of inmates left Wrist and forced that hand

- to the small of his back and placed it in mechanical restraints They then aided the inmate to his
feet and While escorting inmate out of the yard into B and C corridor inmate Was threatening the
officers saying that eventually his`cuffs vviil come off and he vvill get them. Once in B and C corridor
responding officers took control of inmate

Officer Finn and PW*»` 1 e sent to facility clinic to be examined.i

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inmate Was escorted to medical for evaluation by Oftice`rs l\!lercer and Crov\ie. Photos Were
taken of inmate by CO Fogg. lviedical reports indicate inmate has a laceration approximately one
inch long on his right forehead area. He also has redness on the right-shoulder and small abrasion

.OScm X .05cm in size on right elbovv. inmate refused to provide a statement to medical staff about
incidentl

inmate Was placed on Si~li.,i status in hospital second floor lSO A`for further observation to

be released to Si-lU upon discharge from hospital i believe all force vvas justified and necessary
and most likely prevented a serious assai,iltl

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#i><

 

To: Sgt. Scicchitanc

From: C.O. A. i:ini_’i

Subi`ect: U'se of force d

Date: 07/30!2015

On the above date at approximately time of 7:47pm while making rounds in A&B yard C.O.
Pasiilha and l observed inmate Garcia Din‘# 3971556 telling unidentified inmates when they can
get on the phones. -We approached inmate Garcia and attempted to question him about what we
observed inmate Garcia immediately became uncooperative and attempted to waii< away from us.
C.O. Pastiiha ordered the inmate to stdp. inmate Garcia stopped and began to get tiery"ioud and

began to attract the attention__of the approximate 137 inmates in the yard l ordered inmate Garcia

-_t'-e take -itto B€=Cscorridor in an attempt to.deesdalate the situation inmate Garcia~stated. he _viiasn’t__.._ _

going to go inside and began walking away from us towards the basketball court, i then gave
inmate Garcia another direct order to tai<e it to the corridor at which point he said he won’t go
peacefully and turned guici<_iy and aggressively towards C.O. Pastiiha with closed fists it appeared
to me that the inmate was going to assault officer Pastiiha. i then wrapped my right arm around his '
upper torso and stepped behind him with my right ieg and tooi< him forcefully to the ground landing
on top of him. The inmate continued to struggle as l held him down giving him direct orders to stop
resisting C.O. Pastiiha then placed the inmate in mechanical restraints while l continued to hold
the inmate down. \f\ie then aided the inmate to his feet and escorted him to the corridor before
other'inmates could possibly get invoived. V\ie were then reiieved by responding staffn

Respectfuiiy Submitted,

C.O. A. Finn

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DIN:

INCIDENT DATE & TIME=
REvIEw DATE£
nELIvERY DATE a TIME=

HEARING START DATE & TIME:

CHARGE
NUMBER

89T1556 NAME:

suPERINTENDENT
GRN HAvN GEN
sARcIA,-cARLoS

07/50/15
07/30/15

08/01/15

DESCRIPTION OF CHARGES

CREATING A DISTURBANCE

y__/J;/L_ _

_ _ j __ f
HEARING END DATE & TIME= -"/ /f/ /f r 7
wAS THERE NEED FOR A FORMAL MENTAL HEALTH/INTELLEcTuAL cAPAcITv
DoEs THIS MlscoNDucT HEET THE cRITERIA FOR quKPLAcE vIoLENcE?

HEARING DISPUSITIUN RENDERED

...-__. __

 

 

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REPDRTED BY

FINN', A

ASSES§MEN%? Y / N
Y / N

DISPOSITIDN

ANY GUILTY DISPOSITIDN WILL RESULT IN A MANDATURY DISCIPL'INARY -SURCHARGE IN Ti~iE
AMDUNT C|F FIVE($S.DO) DDLLARS BEING ASSESSED AUTDMATICALLY AGAINST THE I-HMATE.

RELEASE SUSPEND

 

 

 

 

 

 

PENALTY . F'ENA_LTY START DEFERRED RESTITUTION
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DCFDDQ SUPERIHTENDENT HEARING DISPOSITIDN RENDERED

DIN:'_89T1556 NAME: GARCIA, CARLDS HEARING DATE: OKZ'LQLEZS

A. STATEMENT UF EVIDENCE RELIED UPON:

_____,____ _____________________________

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C. SPECIAL INSTRUCTION` C|N CORRESPONDENCE RESTRICTIUNS AND REFERRALS

D. SuPPLEMENTAL DATA ENTRY=

l. WAS INMATE FCIUND GUILTY OF ASSAULT? (1-00.10, 100.11, UR 1[1|].12) YES r_ NO __,_
FUR THE FOLLOWIN_G, USE CODES FRDH UI REPORTING SYSTEH (DIR. #¢¢UU¢»):
2. DID INMATE USE A WEAPON? YES 4 NO _- IF YES, TYPE USED

5. D'ID INHATE CAUSE'INJURY? YES ND _' IF YES, DEGREE CODE

 

03/01/15 CaSe §TW'EC\{J'PS>H:'L'W- [P)@$HHWEW oE'|€QRQ%MMALPM§@EQfJJA._%E 4

DCP004 SUPERINTENDENT HEARING DISFUSITION RENDERED
DINE;§QTlBBE NAME: GARCIA, CARLOS HEARING DATE:{§E£!Z¢!H
SUPERINTENDENT HEARING DISPOSITION RENDERED
CHARGE DESCRIPTION DF CHARGE 5 YEAR 10 YEAR
PRIDRS PRIORS
104.13 CREATING A DISTURBANCE 2 2
100.11 ASSAULT UN STAFF 0 1
106.10 REFUSING DIRECT URDER 5 7
102.10 THREATS 1 1
109.12 MOVEMENT REGULATION VIDLATIDN U 2
121.12 PHONE PRUGRAH VIDLATION 0 0
AT THE TIME OF THE HEARING, WAS THIS INMATE HDUSED IN A SHU CELL: jj YES __ NO

45 THE SANCTIONS IHPUSED ARE WITHIN THE PUBLISHED GUIDLINES

UR

I HAVE IMPOSED SANCTIDNS THAT HAVE DEPARTED UPWARD FROM THE PUBLISHED
GUIDLINES, FBR THE FDLLDNING REASDN(S):

UVERALL CLIMATE UF FACILITY

DTHER - EXPLAIN:

I HAVE

SEVERITY UF UFFENSE

LDCATION UF UFFENSE

MANNER OFFENSE WAS COMHITED
RISK TD SECURITY

RISK TO PERSDNAL SAFETV
PROPERTV DAHAGE - RESTITUTIDN
DISCIPLINARV HISTORY

 

 

 

RECEIVED A COPY OF THIS HEARING DISPGSITIDN DATED: cl? il 2 ¢f:;

’/~//1.' ' § "7/}(' 4.` amf

-HEARINE UFFICER SIGNATURE INMATE SIGNATURE DATE’& TIME NRECEIVEb

YDU ARE HEREBY NUTIFIED OF THE FDLLDWING APPEAL PRDCEDURES:

FDR TIER II HEARING - APFEAL TU SUPERINTENDENT WITHIN 72 HDURS

***SUCCESSFUL FRINT CUMFLETION***

 

FORM ms OT/OCZaSe 7:18-0\/- 08761- K|\/|K Document 2 Filed 09/24/18 Page 83 of 170
( ) STATE OF N_EW YORK- DEPARTMENT OF CORRECTIONAL SERVICES

WITNESS INTERVIEW NOTICE (For Superintendent's & Disciplinary Hearings)
6 / 6 3 /l /16`1 i/-& H` Coneciional Facility

},‘: h __r f r:_/ f jj 94 y 977 4<_"`1

C.,»’ §“'§'§ / "~ ` ff _.
lnmate Name (Print) DIN#

An inmate may ca11 wimesses on his or her behalf provided their testimony is material, is not redundant, and doing so
does not jeopardize institutional safety or correctional goals.

If permission to call a witness is denied, or if a requested witness testifies outside the presence of the inmate charged
andj or if the inmate is not permitted to review the testimony of a witness, the reason for such detemiination must be
recorded on this form and copies given to the initiate by the hearing officer and included in the hearing record.

Reference: Directive #4932, Sections 253.5 and 254.5.

 

'§ 7 ‘-§/ f -‘§ 0 f £/ di 44 ’3 E€rmission to call the requested witness is denied.
Requested witness: |:] Requested witness will testify outside inmate' s presence.
|:] Inmate is not permitted to review requested witness' s testimony.

  

   
 

Date. 0 iii 22/ r2 Explanation: -Q/HAM` ZM//M:g ;/ §§

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/§r /l -./ k C" \,/ j 69 f Pennission to call the requested witness is denied
Requested witness: ' |:l Requested witness will testify outside inmate's presence
|:l Inmate is not permitted to review requested witness's testimony

'1 z 4 1 ' “ /

Date'. O 7 / // § Explanation: LC /VZ/%'§W /WYM /¢£

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6 ¢ 3 459 def/1 / §§ Permission to call the requested witness is denied
l:| Requested witness will testify outside inmate's presence

Requested witness:
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76 (07 02) STATE OF NEW YORK- DEPARTMENT OF CORRECTIONAL SERVICES

WITNESS INTERVIEW NOTICE (For Superintendent's & Disciplinary Hearings)

 

 

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inmate Name (Prini) DtN#

An inmate may ca11 witnesses on his or her behalf provided their testimony is material, is not redundant, and doing so
does not jeopardize institutional safety or correctional goals.

If permission to call a witness is denied, or if a requested witness testifies outside the presence of the inmate charged
and/or if the initiate is not permitted to review the testimony of a witness, the reason for such determination must be
recorded on this form and copies given to the inmate by the hearing officer and included in the hearing record.

Reference: Directive #4932, Sections 253.5 and 254.5.

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i:i Inmate is not permitted to review requested witness‘s testimony.

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WITNESS INTERVIEW NOTICE (For Superintendent's & Disciplinary Hearings)
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An inmate may ca11 witnesses on his or her behalf provided their testimony is material, is not redundant, and doing so
does not jeopardize institutional safety or correctional goals.

If permission to call a wimess is denied, or if a requested witness testifies outside the presence of the inmate charged
and/or if the inmate is not permitted to review the testimony of a Witness, the reason for such determination must be
recorded on this form and copies given to the inmate by the hearing officer and included in the hearing record.

Reference: Directive #4932, Sections 25 3.5 and 254.5.

 

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WITNESS INTERVIEW NOTICE (For Superintcndent's & Disciplinary I-Iearings)

 

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andj or if the inmate is not pemiitted to review the testimony of a witness, the reason for such determination must be
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Reference: Directive #-4932, Sections 253.5 and 254.5.

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izi\iDREW Nl. CUOMO ANTHONY J. ANNUCCl
{§ov-ereor j Actiiag Commissioner

|\/lEl\/lOFiA_NDU|\/|

To: Garcia, Carlos 89T1556 SHU-SQ
From: lGP SupervisorStanaWay 289
Subject: Status_ of Grievances

Date: `October 5, 2015

 

This is in response to you letter dated 9/28/‘|5. Attached is a listing ot your complaints that have
been received by the lGRC and logged. Those complaints Were received related to an alleged
assault and continued harassment Which Were consolidated under Grievance #GH80446-15. This
Was logged 8/18/'15. T_he lGFtC clerks sent out receipts to you and it is noted that they are
consolidated This complaint is currently pending a Superintendent response as it is coded as a
startc misconduct grievance.

Your grievance dated:
8/3/15

8/4/15

8/6/15

8/7/15

8/10/15

8/10/15 - 8/11/15
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DEPARTMENT 0F coRREcTIuNs AND coMMuNITY suPERvIsIoN
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ANTHONY J. ANNUCCI JDSEPH BELLNIER
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REVIEW OF SUPERINTENDENT'S HEARING

NAHE= GARCIA, CARLos No. 89T1556

HEARING FACILI+Y: GREEN HAVEN

UN BEHALF OF THE CDHMISSIDNER AND IN RESPDNSE TU YUUR RECENT
LETTER DF APPEAL, PLEASE BE ADVISED THAT YDUR SUPERINTENDENT'S HEARING UF

SEPTEMBER 171 2015, HAS BEEN REVIEWED AND REVERSED DN NOVEMBER 131 2015.'

D. VENETTDZZI
DIRECTDR, SPECIAL HDUSING/
INHATE DISCIPLINARY PRDGRAM

CC: FACILITY SUPERINTENDENT
CENTRAL DFFICE FILES

APFEAL DECISION RENDERED PURSUANT TO SECTIDN 254. 8 DF CHAPTER V AND
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STATE Community Supervision

ANDREW Nl. CUOMO ANTHONY J. ANNUCC|
Governor - Acting Commissioner

January13, 2016

lV|r. Carlos Garcia, #89-T-1556
Auburn Correctional Facility

PO Box 618
Auburn, NY 13021

Dear lVlr. Garcia:
This is to acknowledge receipt of your correspondence dated December 16, 2015.

Contact with the'lGP Supervisor reveals that she received your request to pass GH-80466-15 to the
next level of review for timeliness, and that it is being forwarded to CORC. You are advised to
address further grievance concerns to the lGP Supervisor for the most expeditious means of
resolution.

Sincerely,

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KRB:|o

cc: Supt. Harold Graham, Auburn C.F.
Supv. Cheryl Parrniter, Auburn C.F. (w/attachment)

 

The Harriman State Campus1 1220 Washington Avenue, Albany. NY Jl222!5-2050 l (518) 457-8126 l www.doocs.ny.gov

 

 

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$§}§'K Corrections and
STATE Community Supervision

ANDREW M. CuOMO ANTi-IoNY' _l. ANNuccl
Governor Acting Commissioner
TO: Garcia, C. 89T1556 Aul:)urn C.F.
FROl\/l: , FOlL Office

DATE: January 28, 2016

RE: 7 FOlL #1116-`15

This is in regards to your above noted FOlL request We are sorry for the delay; however, we are
continuing to search for any responsive records that may be releasa|:)le in accordance with New
York State l'-'reedom of information Law. We expect to be responding to your request as soon as
possible.

You have the right to appeal in writing to the Office of Counsel, New York State Department of
Correctiona| Services, State Oftice Campus Building #2, 1220 Washington Avenue, Albany, New
York,12226-2050.

 

Green |-lavc~:-n Correctlonal Facili'ry, 594 Route 216 Stormville` NY 12532-00'l0 (§845} 221-~271'i \.§'vw'w'.doccs.ny.gov

 

 

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NEW 1 -' _ . i
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SrATE i Community Supervision

ANDREW M. CUOMO
Goverrior

iVlr. Carlos Garcia, #69-T-1556
Auburn Correctional Faciiity
PO Box 616

Auburn, NY 13021

Dear i\/ir. Garcia:

AN`il-iONY J. ANNUCCl
Actirig Commissioner

January 29, 2016

This is to acknowledge receipt of your correspondence dated November 3, 2015.

Directive #4040, inmate Grievance Program (lGP), provides inmates with an orderly, fair, simpie'and
_ expeditious method of resolving grievances pursuant to the Correction Law. The Directive makes no
provision for an inmate to refer grievances directly to Centra| Office.

You_ are advised that you must submit your grievance or appeal directly to the iGRC at the facility.
Therefore, your documents are being returned to you, and we will not retain a copy in this office.

Enci.
KRB:mm

cc: Supt. Haro|d Graham, Auburn C.F.
Supv. Cheryi Parmiter, Auburn C.F.

Sincereiy,

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Director : 7
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i_ Grievance Number Date Filed

§ § §§‘,g'_. Con actions and 30446'15 alia/2015
"TME |Co:'nmunlty' Supervisier: _ 75

l Tltle Code

l A'-...LEGES ASSAULT/HAHASSMENT (CONS -4} 49

r inmate G‘ levance ngram Superintendent s Signature DEtie

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/J//\`
The grievant complains of an alleged assault

According to the investigation UOFi 5-0055 for 7/30/15 is a documented Use of Force t
involving the giievant A copy has been obtained On 8/3/15 the grievant was charged with
assault on Staff. l-le was found guilty and this was affirmed on appeal 11!18/15.

g
Sn 12/1 1/15 the grievant was interviewed at Southport CF by Sgt. H The grievant is now l
housing at Auburn GF The grievant offered no new witnesses

P.ccording to the inmate lnjury Report the grievant was assessed by medisal, treated and
doctor placed the grievant in !PC on a watch.

 

Ali officers named in this complaint hate been interviewed by Lt. S. CO P has submitted a
written statement denying the grievant‘s allegations CO F has submitted a written statement
denying the grievants allegations CO F states at no time did he assault the grievant t

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CO G., the A- Officer on the 3-11 shift in the SHU was interviewed and has submitted a written
statement denying the griet ant's allegations

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Accol'ding to the investigation the grievant's allegations could not_be substantiated l l
h l
" Griet.ance is denied only to the e :tent noted above l

|

Appea| Staiernent

if you wish to refer the above decision of the Superintendent please sign below and return this copy to your inmate
Grievance Cierk. You have seven (7) calendar days from receipt of this notice to tile your appeal. Please state why you _ 1
are appealing this decision to C. 0 Pt_ C

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Grievant' s Signature ' Date

 

 

 

 

 

 

 

 

 

Grievance Clerk`s Signature Date
Fcrm 2133 {Fiev. 2/59)

 

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_ Case 7:18-cv-08761-Ki\/|K Document 2 Flled 09/24/18 Page 144 df170

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NEW '
YORK Corrections and

STATE Community Supervision

ANDREW Nl. CUONlO ANTHONY J. ANNUCC|
Governor Acting Commissioner

i\/larch 4, 2016

l\/lr. Carlos Garcia, #89-T-1556
Auburn Correctional Facility
PO Box 618

Auburn, NY13021

Dear l\/lr. Garcia:

7 This is to acknowledge receipt of your recent undated'correspondence.

Contact With the lGP Supervisor reveals that you did not file any grievances in 2015 or 2016 to date.
You are again advised that Directive #4040 makes no provision for an inmate to refer grievances or

appeals directly to Central Office.

You should address specific grievance concerns to the IGP Supervisor for the most expeditious means
of resolution

Sincerely,

Ka en Bella y .
Director
Inmate Grievance Pr gram

 

KRB:c|

cc: Supt Harold Graham, Auburn C F.
Supv. Chery| Parmiter Auburn C. F. (W/attachrnent)

 

The Harriman State Campus` 1220 Washington Avenue, Albany, NY 12226-2050 | (518) 457-8126 l Www`cloccs,nyrgov

 

 

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FR_OM: Karen Bcllamy, Director, Inmate Grievancc Program
SUBJ: Rcccipt oprpeal- P(Ubu?\n , OD...O\,.. L\L\_S"'

CGARCIA 89T1556 8/3/2016

Green Haven Correctional Facility
Your grievance \Gl-l-80446-15 entitled

Harassment
was rec'd by CORC on 5116/20`16

40539

 

A disposition will be sent to you after the grievance is reviewed by CORC
The Harriman State Campus, 1220 Washington Avenue, /-\|l:¢anyl NY 12226-2050 | {518) 457-3126 l www.doccs.ny.gov

 

 

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, ` STATE OF NEW YORK- DEPARTMENT OF CORF|ECT|ONAL SEFiV|C

06’ lNN|ATE GRIEVANCE COMPLA|NT

 

Grievance No.

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'(Please Frint or Type- This form must be filed within 21 calendar days of Grievance incident)*

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AdvisorFiequested |:| ‘(ES g NO Who:

 

Action requested .bv inmate= 'Tlig’} 7 m.}/ fifcotm'}` 104 €,Sjm§ol\`&\\€c\. \_r\et`£,.’j_ \\c\le hamm \r\e\rL
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This Grievence ha_s been informally resolved as follow_:s 'DLP L'O‘weff (D 5. §§

 

 

 

 

This informal Reso|ution is accepted:
(To be completed only if resolved prior to hearing)

Grievant
Signature . . » n Date: -

|f unresolyed, you are entitled to a hearing by the inmate Grievance Resoiution Commit.tee l|GRC).

*An exception to the time limit may be requested under Directive #4040, section 701 .B(Q).

 

 

 

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ResponseofiGRCh Per investigation it is reported by J. Mruczek OAZ
that when the grievants account was opened at this facility, his
ac»nnn+ was still open at the previous Eacilitv, and until the
funds are transferred here, the account here will-be in the
negative balance (107.37-@ previous fac., 40.00 received @ Wende,
which was applied to the negative balance). -

Grievance denied.

pate aewrnedm intimate Q l("'{ lgi rig Membérs l t Sql§§:]'\,..aj§§`

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lChairperson

 

Retu_rn Within 7 calendar days and check appropriate boxes.* '

 

 

 

 

m l disagree With lGRC response and wish to - |:] l have reviewed deadlocked responses.
appeal to the Superintendent. _ Pass-Thru to Superintendent '
l:| l agree with the IGRC response and Wish to - m l apply to the |GP Supervisor for t
' appeal to the Superintendent. review of dismissal _
lSigned
Grievant l _ Date
Grievance C|erk‘s Receipt ' _ Date

 

To be completed by Grr'evance C)'er/<.

G_rievanc_e App`eale`d to the Superintendent

 

Date

 

Grievance forwarded to the Superintehdent for action
' Date

*An exception to the time limit may be requested under Directive #4040, section 701.'6(§}.

 

 

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Nlagisirate Judge is so Designated.

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